          Case 2:21-cv-00255-SCJ Document 1-2 Filed 11/30/21 Page 1 of 14
                                                                                            EFILED IN OFFICE
                                                                                         CLERK OF STATE COURT
                                                                                       JACKSON COUNTY, GEORGIA

                       IN THE STATE COURT OF JACKSON-COUNTY
                                                                                            21SV495
                                                                                     A - ROBERT D. ALEXANDER
                                                                                        NOV 03, 2021 04:44 PM
                                      STATE OF GEORGIA
                                                                                     Corea,        4trirraw
                                                                                                   Camie W.Thomas, Clerk
                                                                                                  Jackson County. Georgia

ANNIE:LOIS FABRIS,

,Plai ntiff,
                                                              CI'M ACTION FILE NO.
vs.

W ALMART,

Defendants.




                        PLAINTIFF'S COMPLAINT FOR DAMAGES

         COMES NOW Plaintiff, in the above-styled actiOn, by and through Counsel Ofrecord and

files this, her complaint for Damages against the above-named Defendant, and shows this

Honorable Court the followingt



         This is an action .for damages sustained by Plaintiff on. January), 2020, arisingfrom the

violent collision of a shopping cart corral into her body, crushing her against the side of her car,

Ca-using painful and serious injuries to her bead,neck,shoulder, back, hips, and pelvic area as she

was in the process of entering the driver's seat of'her car which was parked next to the shopping

cart corral in the parking lot of Walinart Supercentet -#3 in Commerce, Georgia.




                                            'Page 1 of 6
       Case 2:21-cv-00255-SCJ Document 1-2 Filed 11/30/21 Page 2 of 14




                                PARTIES AND JURISDICTION

                                                 2.

       Defendant is a foreign for-profit Corporation with its principal(Ate address lbcated at

707 SW 8th Street, Bentonville, Arkansas,72716,and may be served with process by delivering a

copy of the Summons and Complaint to its registered agent: The Corporation Company, with its

physical address located at 106 COlorty Park Drive Ste. 800-B Cumming GA 30040.


                                                 3,


       Once served with process, Defendant is subject to the jurisdiction and venue of thiS

Court. Pursuant to 0.C.G.A. §14-2-510 b (3) actions for damages because of wrong or injury

done, in the county where the cause of action originated, if the corporation has an office and

transacts business in that county.

                                                 4.


       Defendant is a corporation, if any other than the above named known Defendant, who, on

the.date of the incident, managed, possessed, maintained and/or otherwise controlled the cart

corral.,cart collector, and/or related equipment where Plaintiff was violently struck and seriously.

injured. Plaintiff alleges on information and belief that Defendant may in some manner be

responsible for the acts Or omissions alleged herein.




                                             Page 2 of6
        Case 2:21-cv-00255-SCJ Document 1-2 Filed 11/30/21 Page 3 of 14



                                         *BACKGROUND


                                                    5.


        On January 1 ,2020,.Plaintiff, was a business,invitee at Defendant's place of business,

Walmart Supercenter #3 located at 30983 1.1S-441 Commerce, Georgia 30529.


                                                    7.


        On January 1, 2020,the PreiniseS was owned, operated, ocetipied, and/or managed by

Defendant.


                                                    8.


        After shopping, Plaintiff returned to her car, parked adjacent to a part corral. As she was

entering her car, the cart corral suddenly and unexpectedly shifted and violently struck her,

crushing her against the car and injuring her head, neek, shoulder, hips and pelvic area.

                                                    9.


       On that date, Defendant had exclusive ownership, possession, and Control over the

Premises atall times. relevant to this.litigation


                                                    1


       On that date, Defendant had the duty to exercise ordinary care in keeping the premises

safe. Pursuant to 0.C.G.A §51-3-1




            At all times relevant hereto, Plaintiff was exercising due carp for her own safety.




                                              Page3 of
        Case 2:21-cv-00255-SCJ Document 1-2 Filed 11/30/21 Page 4 of 14



                                                12.


          As a result of Plaintiffs fall, she suffered severe injury and severe pain, suffering, and

mental anguish,


                                                1


       Plaintiffsuffered painful injuries to her bead,.peck, left Shonlder, hips, and pelvic area.

The impact and her ininties are actually and.prOximately due to the negligence of Defendant.


                               COUNT 1— PREMISES LIABILITY


                                                14.


       Plaintiff rea.11eges and.incorporates herein the allegations contained in paragtaphs I.

through 13 above as if fully'restated..


  Defendant was negligent by:


      (a) failing to exercise ordinary care in the maintenance ofthe cart corral

      (b) failing to exercise ordinary care in the maintenance of the cart collector

      (c) failing to train its employee in operating the cart collettor

      (d) carelessly allowing an employee to operate the cart,collector absent proper instruction

      (e) choosing not to ensure that the cart collectors were in working order prior to their use

      (1) allowing a cart collector that has not been properly maintained to be operated by their

           employees in close proximity to their inyitees


                                                1.5.


     The impact.and her injuries are directly due.to the negligence of Defendant and its

emp1oye:4s),
                                             Page 4 pf6
        Case 2:21-cv-00255-SCJ Document 1-2 Filed 11/30/21 Page 5 of 14




     AS. the actual and proximate cause o
                                        - f Defendant's negligence,.Plaintiff suffered serious

physical injury causing severe and permanent pain and suffering..




                           .COUNT II—'VICARIOUS LIABILITY

                                                17.
       Plaintiff rC-allegeS and ineorporateS herein the allegations Contained in paragraphs

through 10 above as if fully restated.

                                                .18.

       At.all times reltrant to this -action,.the Defendant was responsible for the negligent action

of its employee acting within the'scope of their employment.



                 COUNT Ill— NEGLIGENT TRAINING & SUPERVISION

                                                19.

       Plaintiff realleges and incorporates herein the allegations contained in paragraphs I

through 18 above as if fully restated

                                                20.

       Defendant.was:negligent in failing to adopt appropriate policies and procedures to make

sure that appropriate inspections for hazardons- conditions. were performed on the premises.



                                                .21..

       Defendant was. negligent in failing:to properly train and.supervise its employee to use

equipment safety and properly.

                                            Page 5 of 6
       Case 2:21-cv-00255-SCJ Document 1-2 Filed 11/30/21 Page 6 of 14



                                                2?.

       As a result of Defendant's negligence on all counts, Plaintiff was injured on the premises.

       WHEREFORE, Plaintiff prays that she have a trial on all issues and judgement against

Defendant as follows:

      (a) That Plaintiff recover the full value of past and future medical expenses in an amount

           to be proven at trial;

      (b) That Plaintiff recover for mental and physical pain and suffering and emotional

           distress in the amount to be determined by the enlightened conscience of the jury;

      (c) That Plaintiff recover such other and further relief as is just and proper;

      (d) That all issues be tried before a jury.



          This             day of November 2021

                                                             LAWSMITH ATTORNEYS




                                                                            . SMITH
                                                                Georgia Bar No. 657775
                                                                 Attorney for Plaintiff


LawSmith Attorneys
3550 Flabersham at Northlake
Tucker, GA 30084
Phone: 770-938-8000
Fax: 770-938-2012




                                            Page 6 of 6
       Case 2:21-cv-00255-SCJ Document 1-2 Filed 11/30/21 Page 7 of 14




                  IN THE STATE COURT OF JACKSON COUNTY
                             STATE OF GEORGIA

ANNIE LOIS FABRIS,                                         Civil Action File No.
                                                           21SV495
             Plaintiff,
v.

WALMART, INC.,

             Defendant.
                              /

                           ANSWER OF DEFENDANT

      COMES NOW, Defendant WALMART, INC. and makes this Answer to

Plaintiff's Complaint as follows:

                                    FIRST DEFENSE

      Plaintiff's Complaint fails to state a claim against Defendant upon which relief

can be granted.

                                  SECOND DEFENSE

      Plaintiff's alleged damages, if any, were directly and proximately caused by

Plaintiff's own contributory negligence and failure to exercise ordinary care.

                                  THIRD DEFENSE

      Plaintiff was not in the exercise of ordinary care for her own safety in the

premises, and by the exercise of ordinary care could have avoided any injury to

herself; and on account thereof, Plaintiff is not entitled to recover from Defendant.


                                                                             Page -1-
       Case 2:21-cv-00255-SCJ Document 1-2 Filed 11/30/21 Page 8 of 14




                               FOURTH DEFENSE

      Defendant denies that it was negligent in any manner whatsoever or that any

negligent act or omission on its part caused or contributed to any injury or damage

alleged to have been sustained by Plaintiff.

                                 FIFTH DEFENSE

      Plaintiff assumed the risk of any hazard that was presented and is thereby

barred from recovering against Defendant.

                                SIXTH DEFENSE

      Defendant responds to the enumerated paragraphs of Plaintiff's Complaint

as follows:

                                         1.

      Defendant denies the allegations contained in paragraph 1 of the Plaintiff's

Complaint.

                                         2.

      Defendant admits the allegations contained in paragraph 2 of Plaintiff's

Complaint.

                                         3.

      Defendant denies the allegations contained in paragraph 3 of the Plaintiff's

Complaint. Jurisdiction and venue are now proper in the United States District



                                                                          Page -2-
       Case 2:21-cv-00255-SCJ Document 1-2 Filed 11/30/21 Page 9 of 14




Court, Northern District of Georgia, Gainesville Division.

                                         4.

      Defendant denies the allegations contained in paragraph 4 of the Plaintiff's

Complaint.

                                         5.

      Defendant lacks sufficient information to either admit or deny the allegations

contained in paragraph 5 of the Plaintiff's Complaint.

                                         6.

      There is no paragraph number 6 in Plaintiff's Complaint.

                                         7.

      Defendant denies the allegations contained in paragraph 7 of the Plaintiff's

Complaint, but admits that it operated the subject store..

                                         8.

      Defendant denies the allegations contained in paragraph 8 of the Plaintiff's

Complaint.

                                         9.

      Defendant denies the allegations contained in paragraph 9 of the Plaintiff's

Complaint.




                                                                           Page -3-
       Case 2:21-cv-00255-SCJ Document 1-2 Filed 11/30/21 Page 10 of 14




                                          10.

      Defendant denies the allegations contained in paragraph 10 of the Plaintiff's

Complaint. The applicable statute and case law speak for themselves and have been

omitted.

                                          11.

      Defendant denies the allegations contained in paragraph 11 of the Plaintiff's

Complaint.

                                          12.

      Defendant denies the allegations contained in paragraph 12 of the Plaintiff's

Complaint.

                                          13.

      Defendant denies the allegations contained in paragraph 13 of the Plaintiff's

Complaint.

                                          14.

      Defendant realleges and incorporates herein the answers contained in

paragraphs 1 through 13 above as if fully restated.

      Defendant denies the remaining allegations contained in paragraph 14 of the

Plaintiff's Complaint, including subparagraphs (a), (b), (c), (d), (e) and (f) thereof.




                                                                               Page -4-
      Case 2:21-cv-00255-SCJ Document 1-2 Filed 11/30/21 Page 11 of 14




                                        15.

      Defendant denies the allegations contained in paragraph 15 of the Plaintiff's

Complaint.

                                        16.

      Defendant denies the allegations contained in paragraph 16 of the Plaintiff's

Complaint.

                                        17.

      Defendant realleges and incorporates herein the answers contained in

paragraphs 1 through 16 above as if fully restated.

                                        18.

      Defendant denies the allegations contained in paragraph 18 of the Plaintiff's

Complaint.

                                        19.

      Defendant realleges and incorporates herein the answers contained in

paragraphs 1 through 18 above as if fully restated.

                                        20.

      Defendant denies the allegations contained in paragraph 20 of the Plaintiff's

Complaint.




                                                                          Page -5-
       Case 2:21-cv-00255-SCJ Document 1-2 Filed 11/30/21 Page 12 of 14




                                         21.

      Defendant denies the allegations contained in paragraph 21 of the Plaintiff's

Complaint.

                                         22.

      Defendant denies the allegations contained in paragraph 22 of the Plaintiff's

Complaint.

                                         23.

      All other allegations contained in the Complaint which are not specifically

responded to herein, are, therefore, denied.

                                         24.

      Defendant denies Plaintiff's prayer for relief, including subparagraphs (a), (b),

(c), and (d) thereof.

      WHEREFORE, Defendant prays that Plaintiff's Complaint be dismissed with

all costs cast upon the Plaintiff. DEFENDANT DEMANDS TRIAL BY A JURY OF

TWELVE (12) PERSONS AS TO ALL ISSUES SO TRIABLE.

                                       McLAIN & MERRITT, P.C.


                                       /s/ Nicholas E. Deeb
                                       Nicholas E. Deeb
                                       Georgia Bar No. 117025
                                       Attorneys for Defendant
                                       WALMART, INC.


                                                                              Page -6-
      Case 2:21-cv-00255-SCJ Document 1-2 Filed 11/30/21 Page 13 of 14




3445 Peachtree Road, N.E.
Suite 500
Atlanta GA 30326
(404) 365-4535
(404) 364-3138 (fax)
ndeeb@mmatllaw.com




                                                                    Page -7-
      Case 2:21-cv-00255-SCJ Document 1-2 Filed 11/30/21 Page 14 of 14




                            CERTIFICATE OF SERVICE

      I hereby certify that a copy of the above and foregoing ANSWER OF

DEFENDANT has this day been filed and served upon opposing counsel via

Peachcourt E-File.

      This the 30th day of November, 2021.

                                    McLAIN & MERRITT, P.C.


                                    /s/ Nicholas E. Deeb
                                    Nicholas E. Deeb
                                    Georgia Bar No. 117025
                                    Attorneys for Defendant
                                    WALMART, INC.
3445 Peachtree Road, N.E.
Suite 500
Atlanta GA 30326
(404) 365-4535
(404) 364-3138 (fax)
ndeeb@mmatllaw.com




                                                                    Page -8-
